Case 1:17-cr-10067-STA   Document 546 Filed 06/13/19   Page 1 of 2   PageID
                                   2993


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                           Eastern Division



UNITED STATES OF AMERICA

-vs-                                      Case No. 1:17-10067-STA

DINA EVANS


                           ORDER TO SURRENDER

       Defendant, Dina Evans, having been sentenced in the above

styled matter to the custody of the Bureau of Prisons, and having

been granted leave by the court to report to the designated

institution at her own expense, is hereby ordered to surrender

herself to the Bureau of Prisons by reporting to: FCI Aliceville

SCP,   11070   Highway   14,   Aliceville,   AL   35442,   no   later   than

Wednesday, July 10, 2019 by 12:00 Noon.

       IT IS FURTHER ORDERED that upon receipt of a copy of this Order

the defendant shall sign one copy of this Order in the proper space

below and return it to the Clerk of the Court in the enclosed

stamped self-addressed envelope, acknowledging that she has received

a copy of this Order, and that she will report as ordered to the

facility named above.

       IT IS SO ORDERED this the 13th day of June, 2019.



                                  s/ S. Thomas Anderson
                                  CHIEF U.S. DISTRICT COURT JUDGE
Case 1:17-cr-10067-STA   Document 546 Filed 06/13/19   Page 2 of 2   PageID
                                   2994


DINA EVANS - 17-10067




                             ACKNOWLEDGMENT



I agree to report as directed in the above order and understand that

if I fail to so report, I may be cited for contempt of court and if

convicted, may be punished by imprisonment or fine or both.



Signed and acknowledged before me on _____________________.




________________________                ______________________________

Clerk/Deputy Clerk                      Defendant
